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               IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF GEORGIA
                              SAVANNAH DIVISION


ALJANON ALVIN,


       Plaintiff,

V.                                             CASE NO. CV417-206


CORPOE^L RANDY VEAL,


       Defendant.




                                   ORDER


      Before   the    Court   is   the   parties'   Joint   Stipulation   of

Dismissal With Prejudice. {Doc. 83.) Pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(ii), a plaintiff may dismiss an action

by filing ^'a stipulation of dismissal signed by all parties who

have appeared." Accordingly, the parties' request (Doc. 83) is

GRANTED and this action is DISMISSED WITH PREJUDICE. Each party

shall bear its own attorneys' fees and costs. The Clerk of Court

is DIRECTED to close this case.

                      /sr
      so ORDERED this ' day of June 2021.




                                    WILLIAM T. MOORE, JR.
                                    UNITED STATES   DISTRICT   COURT
                                    SOUTHERN   DISTRICT OF GEORGIA
